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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             Civil Action No. 1:21-cv-525


 SAFE HAVEN WILDLIFE REMOVAL                  )
 AND PROPERTY MANAGEMENT                      )
 EXPERTS, LLC,                                )
                                              )
        Plaintiff,                            )
                                              )
 vs.                                          )
                                              )            AMENDED COMPLAINT
 MERIDIAN WILDLIFE SERVICES,                  )
 LLC, d/b/a MERIDIAN BIRD                     )
 REMOVAL, INC.                                )
                                              )
        Defendant.


       COMES NOW Plaintiff, Safe Haven Wildlife Removal and Property Management Experts,

LLC (“Safe Haven”), as a matter of right within 21 days of service of defendant’s motion to

dismiss, by and through counsel, and alleges and says as follows:

                                        THE PARTIES

   1. Safe Haven is a limited liability company organized under the laws of the State of North

       Carolina with its principal place of business in Advance, North Carolina, which is within

       the Middle District.

   2. Meridian Wildlife Services, LLC (“Meridian”), is a Virginia Company with its principal

       place of business in Christiansburg, Virginia.

                                   JURISDICTION AND VENUE

   3. This is a complaint for patent infringement arising under 35 U.S.C. § 271 et. seq.

   4. This Court has subject matter jurisdiction of this matter pursuant to 28 U.S.C. § 1331 and

       1338.
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  5. Venue is proper in this District under 28 U.S.C. § 1400(b) because Meridian has committed

     acts of infringement in this District that infringe upon the patents at issue here.

     Furthermore, Meridian has engaged in tortious misconduct and has purposefully directed

     its activities to this state in this District and has purposefully availed itself in this

     jurisdiction.

  6. To support the above allegation, Safe Haven offers a job posting accessed on May 18,

     2021, showing Meridian advertising for employees to work in the Winston-Salem and

     Greensboro area. (EXHIBIT 1). Additionally, the “about us” section of Meridian’s

     website claims to perform work in “more than thirty states.” (EXHIBIT 2). Further, a map

     on Meridian’s website of their service area delineates the entire state of North Carolina as

     an “available service area,” as opposed to some states that have only a “service available

     with mobilization fee.” (EXHIBIT 3).

                                    THE PATENTS-IN-SUIT

  7. The patents at issue in this case are United States Patent No. 10,251,374 (“‘374 Patent”),

     United States Patent No. 10,729,108 (“‘108 Patent”), and United States Patent No.

     11,064,683 (“’683 patent”).

  8. The ‘374 Patent is titled “Animal Relocation System and Method.” The ‘374 Patent issued

     on April 9, 2019.

  9. Safe Haven obtained ownership of the ‘374 Patent by assignment of the entire right, title,

     and interest in the ‘374 Patent from Derek Tolley on May 26, 2016, after the ‘374

     application had been filed.

  10. A true and correct copy of the ‘374 Patent is attached to this complaint. (EXHIBIT 4).




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  11. The ‘374 Patent relates to a process for removing birds, primarily, from indoor facilities.

     Specifically, the abstract defines the Patent as, “[a]n animal relocation system and method

     comprising a perimeter net system[,] a trapping net system, and a flushing device, wherein

     the flushing device channels the animal through the perimeter net system and into the

     trapping net.”

  12. The ‘108 Patent is titled “Animal Relocation System and Method.” The ‘108 Patent issued

     on August 4, 2020. It is also owned by Safe Haven.

  13. A true and correct copy of the ‘108 Patent is attached to this complaint. (EXHIBIT 5).

  14. Safe Haven obtained ownership of the ‘108 Patent by assignment of the entire right, title,

     and interest to the ‘108 Patent from Derek Tolley’s aforementioned assignment on May

     26, 2016.

  15. The ‘108 Patent relates to a process for removing birds, primarily, from indoor facilities.

     Specifically, the abstract defines the Patent as, “[a]n animal relocation system and method

     comprising a perimeter net system[,] a trapping net system, and a flushing device, wherein

     the flushing device channels the animal through the perimeter net system and into the

     trapping net.”

  16. The ‘683 Patent is titled “Animal Relocation System and Method.” The ‘683 Patent issued

     on July 20, 2021. It is owned by Safe Haven.

  17. A true and correct copy of the ‘683 Patent is Exhibit 14.

  18. The entire right, title and interest to the ‘683 Patent was also assigned by Derek Tolley to

     Safe Haven on May 26, 2016.

                                          BACKGROUND




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  19. Safe Haven is a company that specializes in the safe, effective, and humane bird and

     wildlife removal solutions for facilities.

  20. More colloquially, if a store, warehouse, restaurant, or any other facility has a bird fly into

     it, Safe Haven removes the bird, using the methods described in the ‘374 Patent, ‘108

     Patent, and ‘683 Patent to humanely release the bird into the wild quickly, without injury

     to the bird or to anyone inside the building.

  21. Historically, stores were not concerned about birds in their buildings. Stores would often

     shoot birds that were in a store after hours. That has changed in recent years. Federal and

     sometimes local laws now require more careful handling of animals, including the Retail

     Food Safety Initiative. Additionally, grocery stores now sell prepared food, such as salad

     bars, sushi bars, and fresh bakery items. Droppings or feathers contaminate those items.

     Safe Haven emerged as a leader in this new industry.

  22. Derek Tolley was the inventor of the methods encompassed by the ‘374 Patent, ‘108 Patent,

     and ‘683 Patent. He invested significant time and resources into developing the methods

     encompassed by the ‘374 Patent, ‘108 Patent, and ‘683 Patent.

  23. Derek Tolley obtained the ‘374 Patent to protect his proprietary interest in the methods

     described in the ‘374 Patent.

  24. Derek Tolley obtained the ‘108 Patent to protect his proprietary interest in the methods

     described in the ‘108 Patent.

  25. Derek Tolley obtained the ‘683 Patent to protect his proprietary interest in the methods

     described in the ‘683 Patent.

  26. As was mentioned, Derek Tolley assigned his rights and interests in the three patents to

     Safe Haven.



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  27. The methods described in the ‘374 Patent, ‘108 Patent, and ‘683 Patent have been

     successful and provide an advantage to Safe Haven in the marketplace.

  28. Meridian is a Safe Haven competitor.

  29. Meridian learned of the methods that Derek Tolley and Safe Haven were using via the

     filings that led to the ‘374 Patent, ‘108 Patent, and ‘683 Patent with the United States Patent

     Office.

  30. Immediately upon learning of the methods encompassed by the ‘374 Patent, ‘108 Patent,

     and ‘683 Patent, Meridian began using those methods, and has been using those methods

     in violation of the three aforementioned patents.

  31. Meridian continues to this day to use the methods encompassed by the ‘374 Patent, ‘108

     Patent, and ‘683 Patent, and their outlined operations of capturing wildlife from indoor

     facilities.

  32. Meridian’s current methods, including those methods upon which it is training its

     employees, directly interferes with and competes with the methods encompassed by the

     ‘374 Patent, ‘108 Patent, and ‘683 Patent. Meridian claims on its website to have patented

     a method for capturing birds from facilities. (EXHIBIT 6). However, the methods it uses

     are actually those encompassed by the three aforementioned patents.

  33. Safe Haven attempted to address Meridian’s infringement of the ‘374 Patent via letter,

     dated May 21, 2019. (EXHIBIT 7).

  34. Meridian responded via letter on July 19, 2019. (EXHIBIT 8). That letter does not directly

     claim that Meridian is not infringing upon the ‘374 Patent. Instead, the letter suggests that

     Derek Tolley, who had been an independent contractor and had performed some services




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     via contract with Meridian years ago, developed the ‘374 Patent in such a way as to vest

     ownership of the ‘374 Patent to Meridian, not Safe Haven.

  35. As such, Meridian does not appear to be contesting validity or infringement, but rather

     merely ownership.

  36. Upon information and belief, based upon this fallacious argument that somehow Meridian

     owns the ‘374 Patent, Meridian has made claims on its website that, as worded, imply that

     Meridian owns the ‘374, ‘108 and ‘683 patents. For example, Meridian claims “[o]ur

     patented ‘Bird-N-Free’ capture system and process allows us to predictably remove birds

     from inside any facility.” (EXHIBIT 2). Additionally, Meridian claims that they “have

     developed a patented ‘Bird-N-Free’ system and process that enables us to catch and remove

     birds from inside any facility.” (EXHIBIT 9). The website also states they perform

     “[r]emoval using patented equipment and processes.” The way Meridian words the

     statement, it could be interpreted that the word patent is only modifying the equipment.

     However, it is worded in a way that is misleading so the average reader would believe

     Meridian has a patent it is using for processes for capturing birds, when it in fact is using

     Safe Haven’s patented methods and processes.

  37. There is no type of intellectual property contract, employment relationship, or any other

     act of contract or law that would vest ownership of the ‘374 Patent, ‘108 Patent, or the ‘683

     Patent to Meridian. Derek Tolley developed this method on his own, using years of

     research, case studies and experience, working on his own or as a contractor independently

     for other companies, and eventually as the owner and president of Safe Haven.

  38. Meridian is currently using a perimeter net system and trapping net system to capture birds

     out of facilities, using a flushing device.



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  39. Prior to Meridian reading the ‘374 Patent and understanding Safe Haven’s systems,

     Meridian used a system where a trapping net would be placed near the bird and the

     individual operating the trapping net would track the bird through the store keeping the

     trapping net in close proximity to the bird to try to get the bird into the net. By contrast,

     Safe Haven’s system recognizes that a bird will fly to a corner or perimeter if it feels

     trapped because instinctively in the wild the bird would feel it would have fewer predators

     and less space to be concerned about if it is protected by the walls. As such, the Safe Haven

     system directs the bird to the perimeter where there is a net, and then the Safe Haven

     technicians can shrink the area of the netting system until eventually the bird is in a very

     small area near the perimeter and is flushed into the net.

  40. Safe Haven’s system drastically reduces the time, effort, and disruption to the store or

     building operations while capturing the bird. It also reduces the amount of bird droppings,

     feathers, etc. that could potentially contaminate the area. Safe Haven’s system has a higher

     capture rate and is more likely to allow the bird to leave the store or facility safely.

  41. Meridian changed its system to use the perimeter net method described in the ‘374 Patent,

     ‘108 Patent, and ‘683 Patent and is now using Safe Haven’s methods to compete in the

     marketplace.

  42. Exhibit 10 is a photograph taken from social media showing a Meridian tech holding a

     bird. In the background is a telescoping pole, with the pole attached to the net and the net

     attached to the structure at the perimeter. It appears on Meridian’s social media October

     22, 2020.




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  43. Exhibit 11 is another picture of a Meridian tech. In the background is a telescoping pole

     attached to the perimeter by rope at the bottom, extending to or near the ceiling. It appears

     on Meridian’s social media May 17, 2021; May 25, 2020; and July 8, 2019.

  44. Exhibit 12 is another picture of a Meridian tech. To the right of the picture (to the tech’s

     left) are 4 ropes leading to the ceiling which are part of a net attaching to the ceiling. It

     appears on Meridian’s social media November 4, 2018.

  45. The ropes seen in Exhibit 12 are attached to a trapping net, not a perimeter net. It is not on

     the building’s perimeter.

  46. Exhibit 13 is another picture of a Meridian tech. Behind him is a telescoping pole that

     appears to extend to or near the ceiling and be attached to the perimeter. It appears on

     Meridian’s social media December 21, 2020 and December 23, 2019.

  47. These pictures depict Meridian using the methods encompassed by the ‘374, ‘108, and ;683

     patents.

  48. Confirming what the aforementioned photographs showed, Derek Tolley and one other

     Safe Haven employee witnessed and took videos of two Meridian workers catching a bird

     in public view in a Lowe’s Store on September 17, 2021, Lowe’s store number 1935 at

     5750 Fruitville Road in Sarasota, Florida.

  49. The videos Safe Haven took are extensive, but solely by way of example Safe Haven

     provides Exhibits 15-25 with some emphasis added in places. These show that the workers

     are wearing Meridian shirts. The pictures show the telescopic poles, hook, perimeter mist

     nets with an edge at or near the top of the ceiling, flushing device, and pulley system,

     among other things.




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  50. Safe Haven is not going to analyze each of these pictures, but it will highlight a few.

     Specifically, for the Court’s reference, see Exhibit 16 depicting the pole Meridian was

     using in Sarasota.

  51. Exhibit 19 shows the sack or bag being used at the end of the flushing device.

  52. Exhibit 24 verified that the worker is working for Meridian.

  53. Exhibit 25 shows the deployed mist perimeter net, poles, pulley and hook.

  54. The Meridian workers in Sarasota used a perimeter net, two telescopic poles attached to

     the rafter or beams proximal to the ceiling.

  55. Meridian’s perimeter net used in Sarasota was a mist net.

  56. The Sarasota workers attached the telescoping pole to a rafter or beam at the Lowe’s using

     a hook.

  57. The Meridian workers’ poles contained two ends, a removable connector, a rope and

     pulley, and a cleat in Sarasota. The first end was a hook.

  58. The workers in Sarasota used a flushing device that appeared to be a plastic bag. The

     worker referred to the bag as “scary bag man” which is a term that Derek Tolley specifically

     has used to describe the bag.

  59. The Meridian workers in Sarasota attached the end of the perimeter net at or near the ceiling

     structure.

  60. The Meridian workers attached the perimeter net so that it was proximal to the side of the

     Lowe’s wall.

  61. The Meridian workers in Sarasota attached the telescoping pole to the perimeter net.

  62. The Meridian workers attached the telescoping pole to a rafter or beam proximal to the

     Lowe’s ceiling.



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   63. The Meridian workers’ telescoping pole in Sarasota contained a removable connector.

   64. The Meridian workers in Sarasota used the flushing device to chase the bird toward the

      perimeter net.

   65. Safe Haven also is informed and believes that Meridian has caused each of its employees

      and contractors to sign nondisclosure agreements to prevent discussion of Meridian’s

      training and systems. The Meridian policy of requiring nondisclosure agreements began

      after Meridian learned of Safe Haven’s patents.

                COUNT 1: DIRECT INFRINGEMENT OF THE ‘374 PATENT

   66. Safe Haven reincorporates the above referenced paragraphs and sets them forth fully

      herein.

   67. In violation of 35 U.S.C. § 271, Meridian has infringed and continues to infringe, literally

      or under the doctrine of equivalence, at a minimum, Claims 6 and 7 of the ‘374 Patent.

   68. Claim 6 reads: “An animal relocation system for relocating an animal in a structure, the

      system comprising a perimeter net; a trapping net wherein the trapping net comprises a

      first trapping net, a second trapping net, and a third trapping net; and a flushing device,

      wherein the flushing device is used to direct the animal into the trapping net.” (EXHIBIT

      4).

   69. Safe Haven witnessed infringement of Claim 6 in Sarasota, except that there were not

      trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   70. Additionally, Meridian is infringing Claim 7 of the ‘374 Patent, which reads: “The animal

      relocation system of claim 6, further comprising: the perimeter net comprising; a net and a




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      telescoping pole, the net attached to the telescoping pole and the telescoping pole attached

      to the structure.” (EXHIBIT 4).

   71. Safe Haven witnessed infringement of Claim 7 in Sarasota, except that there were not

      trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   72. Meridian is infringing upon other claims of the ‘374 patent in such ways and manners as

      will be shown in discovery, similar to the infringement witnessed in Sarasota.

   73. As has been discussed herein, Meridian is currently using a method of relocating animals

      within a structure using a perimeter net, a trapping net wherein the trapping net comprises

      the first trapping net, a second trapping net, and a third trapping net; and a flushing device,

      wherein the flushing device is used to direct the animal into the trapping net. In fact, upon

      information and belief, Meridian is training its technicians, affiliates, and contractors to

      use this method – potentially because Meridian believes it actually owns the ‘374 Patent.

   74. Additionally, Meridian is using an animal relocation system comprising of a perimeter net,

      a net and a telescoping pole, a net attached to the telescoping pole, and the telescoping pole

      attached to a structure. This method was not used by Meridian until Meridian learned of

      the ‘374 Patent.

   75. The pictures (Exhibits 10-13, 15-25), in large part, depict and document Meridian in the

      process of infringing on the ‘374 Patent, in addition to what was witnessed and documented

      in Sarasota.

   76. As a direct and proximate consequence of the infringement, Safe Haven has been, is being,

      and, unless such acts and practices are enjoined by the Court, will continue to be injured in

      its business and property rights, and has suffered, is suffering, and will continue to suffer



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      injury and damages for which it is entitled to relief under 35 U.S.C. §§ 271, 281 and 284

      adequate to compensate for such infringement, including lost profits, and in no event less

      than a reasonable royalty.

   77. Meridian’s infringement is further causing and will continue to cause irreparable harm to

      Safe Haven, for which there is no adequate remedy at law. Unless and until enjoined by

      the Court, Meridian will continue to infringe the ‘374 Patent, and under 35 U.S.C. § 283

      Safe Haven is entitled to an injunction against further infringement.

   78. Additionally, Meridian has known that its activities concerning its bird removal activities

      infringed at least the two aforementioned claims of the ‘374 Patent.

   79. Upon information and belief, Meridian has made no attempt to alter its process to not

      infringe the ‘374 Patent. In fact, it has altered its processes to directly violate the ‘374

      Patent.

   80. Therefore, upon information and belief, Meridian’s infringement of at least one claim of

      the ‘374 Patent has been willful. Safe Haven has been damaged as a result of Meridian’s

      willful infringement, and seeks increased damages, up to and including treble damages.

            COUNT 2: INDIRECT INFRINGEMENT OF THE ‘374 PATENT

   81. Safe Haven reincorporates the above referenced paragraphs and sets them forth fully

      herein.

   82. Meridian not only has employees who infringe upon the ‘374 Patent, but Meridian also at

      times employs independent contractors, affiliates, partners and other companies to assist

      them with bird removal.




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   83. Meridian has provided the information in the ‘374 Patent to its independent contractors,

      affiliates, partners, and other companies, and Meridian has instructed, trained, and

      compensated them based on their work violating the ‘374 Patent.

   84. The workers in Sarasota, for example, were employees or independent contractors hired by

      Meridian, trained by Meridian, following the process instructed and required by Meridian.

   85. Meridian took actions that induced these independent contractors, affiliates, partners, and

      other companies to violate the ‘374 Patent.

   86. Meridian has known of the ‘374 Patent since at least May 21, 2019, and has been knowingly

      infringing and inducing infringement since at least that time.

   87. Meridian’s actions demonstrate the intent to cause the acts that form the basis of the direct

      infringement, and Meridian did so with the specific intent to infringe the ‘374 Patent.

   88. Meridian has contributed to the infringement of at least claim 6 and claim 7 of the ‘374

      Patent by others, including its independent contractors, affiliates, partners, and other

      companies that Meridian works with, by entering into contracts with those individuals to

      capture birds from Meridian’s customers using the methods that violate the’374 Patent.

   89. Meridian has contributorily infringed and is a contributory infringer because, with

      knowledge of the ‘374 Patent, it supplied its independent contractors, affiliates, partners,

      and other companies with which it works, information about the process contained in the

      ‘374 Patent, and Meridian has trained and expressed an intention that these individuals

      would complete Meridian’s work using methods that would infringe the ‘374 Patent.

   90. Meridian knew that the methods that these independent contractors, affiliates, partners, and

      other companies would use would infringe at least claim 6 and claim 7 of the ‘374 Patent.




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   91. Safe Haven has been damaged as a result of Meridian’s indirect infringement and is entitled

      to relief under 35 U.S.C. §§ 271, 281, 283 and 284 based on Meridian’s induced and/or

      contributory infringement.

                COUNT 3: DIRECT INFRINGEMENT OF THE ‘108 PATENT

   92. Safe Haven reincorporates the above referenced paragraphs and sets them forth fully

      herein.

   93. In violation of 35 U.S.C. § 271, Meridian has infringed and continues to infringe, literally

      or under the doctrine of equivalence, at a minimum, Claims 1, 2, 4, 5, 6, 7, 8, 11, and 17

      of the ‘108 Patent.

   94. Claim 1 reads: “A method of relocting birds within a structure, the method comprising:

      installing a bird relocation system, the bird relocation system comprising; at least one

      perimeter net, at least one trapping net, and at least one flushing device; wherein a top edge

      of either or both of the at least one perimeter net and at least one trapping net is positioned

      at or near a ceiling of the structure, and flushing the animal through the structure wherein

      the flushing device chases the bird toward the at least one perimeter net and into the

      perimeter net or the trapping net.”

   95. Safe Haven witnessed infringement of Claim 1 in Sarasota, except that there were not

      trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   96. Claim 2 reads: “The method of Claim 1, wherein the at least one perimeter net is installed

      such that one side of the at least one perimeter net is proximal to one side of the structure.”




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   97. Safe Haven witnessed infringement of Claim 2 in Sarasota, except that there were not

      trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   98. Claim 4 reads: “The method of claim 1, wherein the at least one perimeter net and at least

      one trapping net are mist nets.”

   99. Safe Haven witnessed infringement of Claim 4 in Sarasota, except that there were not

      trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   100.       Claim 5 reads: “The method of claim 1, wherein either or both of the at least one

      perimeter net and at least one trapping net are attached to at least one telescoping pole.”

   101.       Safe Haven witnessed infringement of Claim 5 in Sarasota, except that there were

      not trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   102.       Claim 6 reads: “The method of claim 5, wherein the at least one telescoping pole

      comprises a means of attachment to a rafter or beam proximal to the ceiling of the

      structure.”

   103.       Safe Haven witnessed infringement of Claim 6 in Sarasota, except that there were

      not trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   104.       Claim 7 reads: “The method of claim 6, wherein the means of attachment comprises

      a hook.”




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   105.      Safe Haven witnessed infringement of Claim 7 in Sarasota, except that there were

      not trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   106.      Claims 8 reads: “The method of claim 5, wherein the at least one telescoping pole

      comprises a first end and second end; a removable connector; a rope and pulley; and a

      cleat, and wherein the first end comprises a hook.”

   107.      Safe Haven witnessed infringement of Claim 8 in Sarasota, except that there were

      not trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   108.      Claim 11 reads: “A bird relocation system for relocating a bird in a structure, the

      system comprising: at least one perimeter net; at least one trapping net; at least one flushing

      device, and at least one telescoping pole, wherein either or both of the at least one perimeter

      net and the at least one trapping net are attached to at least one telescoping pole.” (Exhibit

      5).

   109.      The workers in Sarasota were infringing on this claim, witnessed by Safe Haven,

      except that in Sarasota the workers were not at that time using a trapping net. However,

      Exhibit 12 shows that Meridian does, in fact, use trapping nets.

   110.      Claim 12 reads: “The system of claim 11, wherein the at least one perimeter net

      and the at least one trapping net are mist nets.”

   111.      Safe Haven witnessed infringement of Claim 12 in Sarasota, except that there were

      not trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.




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   112.      Claim 13 reads: “The system of claim 11, wherein the at least one telescoping ple

      comprises a means of attachment to a rafter or beam proximal to the ceiling of the

      structure.”

   113.      Safe Haven witnessed infringement of Claim 13 in Sarasota, except that there were

      not trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   114.      Claim 14 reads: “The system of claim 11, wherein the at least one telescoping pole

      comprises a first end and second end, a removable connector, a rope and pulley; and a cleat,

      and wherein the first end comprises a hook.”

   115.      Safe Haven witnessed infringement of Claim 14 in Sarasota, except that there were

      not trapping nets in use in Sarasota at that time. However, Exhibit 12 shows that Meridian

      does, in fact, use trapping nets.

   116.      Additionally, Meridian is infringing Claim 17 of the ‘108 Patent, which reads: A

      method of relocating birds within a structure, the method comprising: installing a bird

      relocation system, the bird relocation system comprising; at least one perimeter net, and at

      least one flushing device; wherein a top edge of the at least one perimeter net is positioned

      at or near a ceiling of the structure, and flushing the animal through the structure wherein

      the flushing device chases the bird toward the at least one perimeter net, wherein the at

      least one perimeter net is installed such that one side of the at least one perimeter net is

      proximal to one side of the structure. (EXHIBIT 5).

   117.      The workers in Sarasota were infringing on this claim, witnessed by Safe Haven.

   118.      As has been discussed herein, Meridian is currently using a method of relocating

      birds within a structure using at least one perimeter net, at least one trapping net, and at



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      least one flushing device, and at least one telescoping pole, wherein either or both of the at

      least one perimeter net and at least one trapping net are attached to at least one telescoping

      pole. In fact, this is the method, upon information and belief, that Meridian is training its

      employees and technicians on – potentially because Meridian believes it actually owns the

      ‘108 Patent.

   119.      Additionally, Meridian is relocating birds within a structure, by installing a bird

      relocation system, using at least one perimeter net, at least one flushing device, wherein

      the top edge of the at least one perimeter net is positioned at or near the ceiling of the

      structure, and flushing the birds through the structure where the flushing device chases the

      bird toward at least one perimeter net, where the at least one perimeter net is installed such

      as one of the at least one perimeter net is proximal to one side of the structure. Again, this

      method was not used by Meridian until Meridian learned of the ‘108 Patent.

   120.      The pictures (Exhibits 10-13, 15-25), in large part, depict and document Meridian

      in the process of infringing on the ‘108 Patent.

   121.      Additionally Meridian is infringing on other claims of the ‘108 patent in such ways

      as will be revealed in discovery.

   122.       As a direct and proximate consequence of the infringement, Safe Haven has been,

      is being, and, unless such acts and practices are enjoined by the Court, will continue to be

      injured in its business and property rights, and has suffered, is suffering, and will continue

      to suffer injury and damages for which it is entitled to relief under 35 U.S.C. §§ 271, 281

      and 284 adequate to compensate for such infringement, including lost profits, and in no

      event less than a reasonable royalty.




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   123.         Meridian’s infringement is further causing and will continue to cause irreparable

      harm to Safe Haven, for which there is no adequate remedy at law. Unless and until

      enjoined by the Court, Meridian will continue to infringe the ‘108 Patent, and under 35

      U.S.C. § 283 Safe Haven is entitled to an injunction against further infringement.

   124.         Additionally, Meridian has known that its activities concerning its bird removal

      activities infringed at least the two aforementioned claims of the ‘108 Patent.

   125.         Upon information and belief, Meridian has made no attempt to alter its process to

      not infringe the ‘108 Patent. In fact, it has altered its processes to directly violate the ‘108

      Patent.

   126.         Therefore, upon information and belief, Meridian’s infringement of at least one

      claim of the ‘108 Patent has been willful. Safe Haven has been damaged as a result of

      Meridian’s willful infringement, and seeks increased damages, up to and including treble

      damages.

           COUNT 4: INDIRECT INFRINGEMENT OF THE ‘108 PATENT

   127.         Safe Haven reincorporates the above referenced paragraphs and sets them forth

      fully herein.

   128.         Meridian not only has employees who infringe upon the ‘108 Patent, but Meridian

      also at times employs independent contractors, affiliates, partners, and other companies to

      assist them with bird removal.

   129.         Meridian has provided the information in the ‘108 Patent to its independent

      contractors, affiliates, partners, and other companies, and Meridian has instructed, trained

      and compensated them based on their work violating the ‘108 Patent.




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   130.         Meridian took actions that induced these independent contractors, affiliates,

      partners, and other companies to violate the ‘108 Patent.

   131.         Meridian has known of the ‘108 Patent since at least August 4, 2020 and has been

      knowingly infringing and inducing infringement since at least that time.

   132.         Meridian’s actions demonstrate the intent to cause the acts that form the basis of

      the direct infringement, and Meridian did so with the specific intent to infringe the ‘108

      Patent.

   133.         Meridian has contributed to the infringement of at least claims 1, 2, 4, 5, 6, 7, 8, 12,

      13, and 14 of the ‘108 Patent by others, including its independent contractors, affiliates,

      partners, and other companies that Meridian works with, by entering into contracts with

      those individuals to capture birds from Meridian’s customers using the methods that violate

      the’108 Patent.

   134.         Meridian has contributorily infringed and is a contributory infringer because, with

      knowledge of the ‘108 Patent, it supplied its independent contractors, affiliates, and other

      companies with which it works, information about the process contained in the ‘108 Patent,

      and Meridian has trained and expressed an intention that these individuals would complete

      Meridian’s work using methods that would infringe the ‘108 Patent.

   135.         Meridian knew that the methods that these independent contractors, affiliates,

      partners, and other companies would use would infringe at least claims 1, 2, 4, 5, 6, 7, 8,

      12, 13, and 14of the ‘108 Patent.

   136.         Safe Haven has been damaged as a result of Meridian’s indirect infringement and

      is entitled to relief under 35 U.S.C. §§ 271, 281, 283 and 284 based on Meridian’s induced

      and/or contributory infringement.



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               COUNT 5: DIRECT INFRINGEMENT OF THE ‘683 PATENT

   137.        Safe Haven reincorporates the above referenced paragraphs and sets them forth

      fully herein.

   138.        In violation of 35 U.S.C. § 271, Meridian has infringed and continues to infringe,

      literally or under the doctrine of equivalence, at a minimum, Claims 1, 2, 3, 4, 5, and 8 of

      the ‘683 Patent.

   139.        Claim 1 reads: “A bird relocation system for relocating a bird in a structure, the

      system comprising: at least one perimeter net; wherein the at least one perimeter net is

      adapted to be positioned at or near a ceiling of the structure; and wherein the at least one

      perimeter net is attached to at least one telescoping pole comprising a means of attachment

      to a rafter or beam proximal to the ceiling of the structure.” (EXHIBIT 14).

   140.        The workers in Sarasota were infringing on this claim, witnessed by Safe Haven.

   141.        Additionally, Meridian is infringing Claim 2 of the ‘683 Patent, which reads: “The

      system of claim 1, wherein the at least one perimeter net is a mist net.” (EXHIBIT 14).

   142.        The workers in Sarasota were infringing on this claim, witnessed by Safe Haven.

   143.        Meridian is infringing Claim 3 of the ‘683 Patent, which reads: “The system of

      claim 1, wherein the means of attachment comprises a hook.”

   144.        The workers in Sarasota were infringing on this claim, witnessed by Safe Haven.

   145.        Meridian is infringing Claim 4 of the ‘683 Patent, which reads: “The system of

      claim 1, wherein the at least one telescoping pole comprises a first end and second end, a

      removable connector, a rope and pulley; and a cleat, and wherein the first end comprises a

      hook.”

   146.        The workers in Sarasota were infringing on this claim, witnessed by Safe Haven.



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   147.      Meridian is infringing Claim 5 of the ‘683 Patent, which reads: “The system of

      claim 1, further comprising at least one trapping net.”

   148.      The workers in Sarasota were infringing on this claim, witnessed by Safe Haven.

   149.      Meridian is infringing Claim 8 of the ‘683 Patent, which reads: “The system of

      claim 1, further comprising at least one flushing device.”

   150.      The workers in Sarasota were infringing on this claim, witnessed by Safe Haven.

   151.      Meridian is infringing upon other claims of the ‘683 patent in such ways and

      manners as will be shown in discovery, similar to the infringement witnessed in Sarasota.

   152.      Upon information and belief, Meridian is training its technicians, affiliates, and

      contractors to use this method – potentially because Meridian believes it actually owns the

      ‘683 Patent.

   153.      Additionally, these violating methods were not used by Meridian until Meridian

      learned of the patent application.

   154.      The pictures (Exhibits 10-13, 15-25), in large part, depict and document Meridian

      in the process of infringing on the ‘683 Patent, to supplement the forthcoming testimony

      from Safe Haven employees who saw the infringement in Sarasota.

   155.      As a direct and proximate consequence of the infringement, Safe Haven has been,

      is being, and, unless such acts and practices are enjoined by the Court, will continue to be

      injured in its business and property rights, and has suffered, is suffering, and will continue

      to suffer injury and damages for which it is entitled to relief under 35 U.S.C. §§ 271, 281

      and 284 adequate to compensate for such infringement, including lost profits, and in no

      event less than a reasonable royalty.




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   156.         Meridian’s infringement is further causing and will continue to cause irreparable

      harm to Safe Haven, for which there is no adequate remedy at law. Unless and until

      enjoined by the Court, Meridian will continue to infringe the ‘683 Patent, and under 35

      U.S.C. § 283 Safe Haven is entitled to an injunction against further infringement.

   157.         Additionally, Meridian has known that its activities concerning its bird removal

      activities infringed at least the two aforementioned claims of the ‘683 Patent.

   158.         Upon information and belief, Meridian has made no attempt to alter its process to

      not infringe the ‘683 Patent. In fact, it has altered its processes to directly violate the ‘683

      Patent.

   159.         Therefore, upon information and belief, Meridian’s infringement of at least one

      claim of the ‘683 Patent has been willful. Safe Haven has been damaged as a result of

      Meridian’s willful infringement, and seeks increased damages, up to and including treble

      damages.

           COUNT 6: INDIRECT INFRINGEMENT OF THE ‘374 PATENT

   160.         Safe Haven reincorporates the above referenced paragraphs and sets them forth

      fully herein.

   161.         Meridian not only has employees who infringe upon the ‘683 Patent, but Meridian

      also at times employs independent contractors, affiliates, partners and other companies to

      assist them with bird removal.

   162.         Meridian has provided the information in the ‘683 Patent to its independent

      contractors, affiliates, partners, and other companies, and Meridian has instructed, trained,

      and compensated them based on their work violating the ‘683 Patent.




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   163.         The workers in Sarasota, for example, were employees or independent contractors

      hired by Meridian, trained by Meridian, following the process instructed and required by

      Meridian.

   164.         Meridian took actions that induced these independent contractors, affiliates,

      partners, and other companies to violate the ‘683 Patent.

   165.         Meridian has known of the ‘683 Patent since at least July 20, 2021, and has been

      knowingly infringing and inducing infringement since at least that time.

   166.         Meridian’s actions demonstrate the intent to cause the acts that form the basis of

      the direct infringement, and Meridian did so with the specific intent to infringe the ‘683

      Patent.

   167.         Meridian has contributed to the infringement of at least claims 1, 2, 3, 4, 5, and 8

      of the ‘683 Patent by others, including its independent contractors, affiliates, partners, and

      other companies that Meridian works with, by entering into contracts with those individuals

      to capture birds from Meridian’s customers using the methods that violate the’683 Patent.

   168.         Meridian has contributorily infringed and is a contributory infringer because, with

      knowledge of the ‘683 Patent, it supplied its independent contractors, affiliates, partners,

      and other companies with which it works, information about the process contained in the

      ‘683 Patent, and Meridian has trained and expressed an intention that these individuals

      would complete Meridian’s work using methods that would infringe the ‘683 Patent.

   169.         Meridian knew that the methods that these independent contractors, affiliates,

      partners, and other companies would use would infringe at least claims 1, 2, 3, 4, 5, and 8

      of the ‘683 Patent.




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   170.         Safe Haven has been damaged as a result of Meridian’s indirect infringement and

      is entitled to relief under 35 U.S.C. §§ 271, 281, 283 and 284 based on Meridian’s induced

      and/or contributory infringement.



                                         JURY DEMAND

   171.         Safe Haven demands a jury trial as to all issues that are triable by a jury in this

      action.

                                     PRAYER FOR RELIEF

WHEREFORE Safe Haven asks:

   1. That the Court declare that Meridian is liable for direct and/or indirect infringement of one

      or more claims in the ‘374 Patent;

   2. That Meridian and its parents, subsidiaries, affiliates, successors, predecessors, assigns,

      and the officers, directors, agents, servants and employees of each of the foregoing, and

      those persons acting in concert, under contract with or in participation with any of them,

      be enjoined and restrained from continued infringement, including the use of any process

      or methods covered by the ‘374 Patent;

   3. That the Court declare that Meridian is liable for direct and/or indirect infringement of one

      or more claims in the ‘108 Patent;

   4. That Meridian and its parents, subsidiaries, affiliates, successors, predecessors, assigns,

      and the officers, directors, agents, servants and employees of each of the foregoing, and

      those persons acting in concert, under contract with or in participation with any of them,

      be enjoined and restrained from continued infringement, including the use of any process

      or methods covered by the ‘108 Patent;


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   5. That the Court declare that Meridian is liable for direct and/or indirect infringement of one

      or more claims in the ‘683 Patent;

   6. That Meridian and its parents, subsidiaries, affiliates, successors, predecessors, assigns,

      and the officers, directors, agents, servants and employees of each of the foregoing, and

      those persons acting in concert, under contract with or in participation with any of them,

      be enjoined and restrained from continued infringement, including the use of any process

      or methods covered by the ‘683 Patent;

   7. An award of all damages adequate to compensate Safe Haven for the infringement that has

      occurred, pursuant to 35 U.S.C. §§ 271, 281 and 284 including lost profits, but in no event

      less than a reasonable royalty, plus prejudgment and post judgment interest;

   8. An award of treble damages for willful infringement pursuant 35 U.S.C. § 284;

   9. That this case be declared an exceptional case within the meaning of 35 U.S.C. § 285;

   10. Safe Haven be awarded attorney fees, costs, and expenses occurred in connection with this

      action;

   11. That judgment be entered otherwise in accordance with this complaint;

   12. Trial by jury; and

   13. For such other and further relief that the Court deems just and proper.

      This the 22nd day of September, 2021.

                                             /s/ Andrew L. Fitzgerald         _
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